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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION



 Calvin R. Pettrey, and                       )     CASE NO. 1:05-cv-1504
 Nikki Pettrey                                )
                                              )
                      Plaintiffs,             )     JUDGE PATRICIA A. GAUGHAN
                                              )
               Vs.                            )
                                              )
 Enterprise Title Agency, Inc.,               )
 First USA Title Agency, LP,                  )     Memorandum Opinion and Order
 John DeSantis, and                           )
 John Doe(s)                                  )
                                              )
                      Defendants.             )



        INTRODUCTION

        Defendants Enterprise Title Agency, Inc. (“Enterprise”), First USA Title Agency, LP

 (“First USA”) and John DeSantis (collectively “Defendants”) have filed a Motion for Protective

 Order (Doc. 17) and a Motion to Designate Documents and Testimony Confidential and to

 Prohibit Disclosure of Non-Public Information (Doc. 61). This case arises from Enterprise and

 DeSantis allegedly setting up sham companies such as First USA to cover up the improper

 payment of referral fees to DeSantis. For the reasons that follow, the motions are DENIED.


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        BACKGROUND

        Plaintiffs Calvin and Nikki Pettrey allege the following in their Complaint. Plaintiffs

 purchased a home in June 2004. Defendant DeSantis was the real estate agent for the

 transaction. He told Plaintiffs that the sellers insisted they use Defendant Enterprise as the

 settlement agent for the transaction while the sellers were told that Plaintiffs insisted on

 Enterprise. At the closing Plaintiffs learned that Defendant First USA1 was owned by DeSantis

 and Enterprise, and would be paid to perform certain services related to the closing. This was

 outlined on a HUD-1 Settlement Statement.

        Plaintiffs contend that the HUD-1 Settlement Statement concealed the true nature of First

 USA, which performed no services and added no value to the transaction. All services credited

 to First USA were instead performed by Enterprise. Fees paid to First USA were in fact a

 kickback or illegal referral fee paid by Enterprise to DeSantis.

        Plaintiffs bring claims for Violation of the Real Estate Settlement Procedures Act, 12

 U.S.C. § 2607 (Count I), Negligent Misrepresentation (Count II), Violation of the Consumer

 Sales Protection Act (Count III) and Civil Conspiracy (Count IV). They seek to represent a class

 of “[a]ll borrowers who entered into mortgage loan transactions using the services of Enterprise

 where the HUD-1 Settlement Statement, or other document in the loan file, included a charge for

 or payment allocable to an affiliated business arrangement or entity.”

        Plaintiffs served initial discovery requests on Enterprise and DeSantis. Defendants

 initially refused to produce any responsive documents, in part to seek agreement on a



  1
          Such entities are generally referred to as “Affiliated Business
          Arrangements” or AfBAs.

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 confidentiality order and in part because they filed a Motion for Protective Order. Defendants’

 Motion for Protective Order sought an order from the Court limiting discovery of the following:

 1) documents in the possession of Enterprise or DeSantis relating to other AfBAs not parties to

 the lawsuit; 2) client files for real estate transactions, closing, and/or title services performed for

 persons other than the Pettreys that relate solely to the purported class claims; 3) DeSantis’s tax

 returns; and 4) documents that identify the number of real estate transactions for which DeSantis

 received a real estate commission.

         The parties eventually reached a resolution on issues 1 and 2. In a series of letters

 exchanged between the parties Defendants agreed to produce limited documents relating to the

 AfBAs and to limit production of real estate transactions to a relevant period starting a little

 more than a year before the date Plaintiffs filed their Complaint. The Court has not seen any

 correspondence indicating that agreement was reached on issues 3 and 4.

         The parties also negotiated a Confidentiality Order. Prior to signing the order, Plaintiffs’

 counsel expressed to Defendants’ counsel his concern that defendants often designate virtually

 every document as confidential. Defendants’ counsel assured Plaintiffs’ counsel that “they

 would only mark documents ‘confidential’ in good faith and would be judicious in doing so.”2

 The parties eventually agreed on a Confidentiality Stipulation and Order which was entered by

 the Court.3 Among other things, the Confidentiality Order provided the following procedure for



  2
          Plaintiffs support this contention via affidavit. Although
          Defendants state their disagreement that this conversation ever
          occurred, they only do so in the text of their brief.
  3
          The Confidentiality Order was entered by Judge Manos. The
          action was reassigned to this Court on July 11, 2006.

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 the designation of confidential documents:

        •        Any document that contains or comprises non-public information may be
                 designated as “Confidential” in the manner described herein, only if a
                 party determines in good faith that any such document reflects the
                 producing party’s trade and business secrets or other confidential
                 financial, personal, commercial or proprietary information, which, if
                 disclosed publicly, would put the designating party at a competitive
                 disadvantage. * * * Only non-public documents . . . produced in discovery
                 may be designated as “Confidential.”

 (Doc. 42). The Confidentiality Order provided a procedure for challenging a confidential

 designation and resolving any disputes over such challenges:

        •        If a party seeks removal of a particular item as “Confidential” from this
                 Stipulation and Order, the following procedure shall be utilized:
                 a.      The party seeking such removal shall give all counsel of record for
                         the designating Party written notice thereof by facsimile or
                         electronic mail, specifying the document, information, or other
                         items as to which such removal is sought and the reasons for the
                         request;
                 b.      If an agreement cannot be reached by negotiation, then the
                         producer must move promptly for a ruling from the Court on the
                         continued application of this Stipulation and Order to such
                         “Confidential” discovery materials. * * * In the event the producer
                         fails to seek a ruling form the Court within ten (10) calender days
                         from the receipt of a request in writing that discovery materials
                         designated as “Confidential” be released from the requirements of
                         this Stipulation and Order, the discovery materials covered by the
                         request shall be deemed not confidential.

 (Doc. 42). The Stipulation also allowed parties to designate certain lines of depositions as

 confidential “in good faith.”

        Defendants eventually produced 152 boxes of documents containing approximately

 400,000 pages of material.4 Defendants marked every single page as confidential without

 reviewing the documents for confidential material. Two lawyers for Plaintiffs then spent a



  4
            The parties could not agree to a more limited sample production.
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 number of days reviewing the documents. Soon thereafter Plaintiffs sent a letter to Defendants,

 explaining that “contrary to your assurance that the Defendants would be selective in designating

 documents as confidential, you have designated and stamped virtually every document as

 ‘confidential.’” On February 2, Plaintiffs made a formal request that Defendants remove the

 confidential designation from each of the produced documents. They stated the following three

 reasons: 1) the determination of confidentiality was not made in good faith; 2) none of the

 documents reflect “trade and business secrets or other confidential, financial, personal

 commercial or proprietary information”; and 3) disclosure of the designated documents would

 not put Defendants at “a competitive disadvantage.”

        Defendants first responded eight days later asking “whether there are any documents that

 you agree can be kept confidential” prior to “filing our motion with the court . . . .” Defendants

 understood Plaintiffs’ letter “to state that you believe none of the documents should be

 confidential.” Plaintiffs responded that in their view none of the documents qualified as

 confidential but provided Defendants additional time to “make a good faith effort to re-designate

 only those documents that are truly ‘confidential’ under the terms of the Order entered by the

 Court.” Defendants asked that they be given until “February 21 . . . to file a motion with the

 court per . . . the Confidentiality Stipulation and Order.” Plaintiffs agreed to this request.

 Defendants also explained that they would “put together a list of the documents produced that

 were marked Confidential and the reasons for confidentiality.” They suggested that “you then

 review the list and specify which documents you are seeking to have the Confidential

 designation removed and the reasons for your request.”

        Rather than filing a motion on February 21, Defendants sent Plaintiffs an e-mail

 explaining that all of the submitted documents were confidential and providing a brief
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 explanation why each of four categories of information was confidential. Defendants then

 sought to shift the burden to Plaintiffs by asking them to provide “a list of the specific

 documents as to which removal of the CONFIDENTIAL designation is sought and the reasons

 for each of your document requests.” The e-mail continued as follows:

        If we cannot reach an agreement, I will file a motion with the Court requesting a
        ruling as to any documents that remain in dispute within 10 days of receipt of
        your list of specific documents and reasons therefore. Although we previously
        agreed that the Defendants would have until February 21, 2006 to file said
        motion, I do not believe that you have complied with paragraph 12(a) of the
        Confidentiality Stipulation and Order, which requires “specifying the document,
        information, or other items as to which such removal is sought and the reasons for
        the request.” Please advise if you disagree.

 Plaintiffs in fact did disagree and informed Defendants that they considered the disputed

 materials “covered by the request [to] be deemed confidential” pursuant to Defendants’ failure to

 file a motion as required by the plain language of the Stipulation and Order. Plaintiffs

 nonetheless agreed to limit disclosure of “class members’ documents that contain either a social

 security number or personal financial information” and “employee payroll records.”

        Defendants reiterated in a February 23 letter their belief that Plaintiffs did not properly

 object because they failed to specifically designate what documents were in dispute and the

 reasons removal of the confidential designation was sought. In a February 24 letter, Plaintiffs

 responded that they had properly challenged Defendants universal designation and repeated their

 contention that the documents were deemed “not Confidential under the Stipulation and Order.”

 Defendants apparently failed to respond to Plaintiffs’ February 24 letter.

        The issue of confidentiality came up again when Plaintiffs challenged certain of

 Defendants’ deposition designations. Defendants eventually responded that the reason for the

 confidential designation was that the underlying documents discussed in the depositions were

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 confidential.

        Defendants filed a Motion to Designate Documents and Testimony Confidential and to

 Prohibit Disclosure of Non-Public Information on May 25.

        DISCUSSION

        The Court will first address the outstanding issues from the Motion for Protective

 Order—namely, disclosure of DeSantis’s tax returns and real estate commissions. With respect

 to the tax returns, Defendants contend that “the only possible relevance” of the tax returns is

 punitive damages. Plaintiffs respond, and the Court agrees, that these materials fall within the

 broad definition of relevance contemplated by Rule 26(B),5 and are in fact quite relevant to this

 lawsuit. The core of Plaintiffs’ Complaint is that DeSantis conspired with Enterprise and the

 sham entities to earn illegal referral fees in addition to his legal commissions. Tax returns and

 actual commissions are just the sort of evidentiary materials likely to reveal if such a conspiracy

 exists. Defendants’ contention that such documents are private is properly dealt with through

 adherence to the parties’ Confidentiality Order. Finally, the Court agrees that the time period of

 required disclosure should be limited to April 2004 through May 26, 2005 as the parties have

 limited the disclosure of other documents.

        The Court will next move to Defendants’ Motion to Designate Documents and

 Testimony Confidential and to Prohibit Disclosure of Non-Public Information. The Court notes

 at the outset that Plaintiffs have agreed to keep any personal identification information

 confidential. Such measures are required by Local Rule 8.1 and the Court expects Plaintiffs to



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          “Relevant information need not be admissible at the trial if the
          discovery appears reasonably calculated to lead to the discovery of
          admissible evidence.” Fed. R. Civ. P. 26(b)(1).
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 stick to this agreement in the future.

        However, beyond this limited area of agreement the parties’ positions are vastly different.

 Plaintiffs contend that all 400,000+ documents have been automatically deemed not confidential

 by the express terms of the Confidentiality Order. Defendants argue that Plaintiffs have failed

 to comply with the Stipulation and Order and are attempting extra-judicial self help in

 contravention of the Confidentiality Order. Defendants then cite a number of cases for the

 proposition that a Confidentiality Order should rarely be altered by the courts, particularly where

 the order was agreed to by the parties before submission to the Court. E.g., AT&T Co. v. Grady,

 594 F.2d 594, 597 (7th Cir. 1978); Longman v. Food Lion, Inc., 18 F.R.D. 331, 334 (M.D.N.C.

 1999); Omega Homes, Inc. v. Citicorp Acceptance Co., 656 F. Supp. 393, 404 (W.D. Va. 1987).

        The Court finds that Defendants’ arguments are utterly meritless. Plaintiffs have not

 sought to modify the Confidentiality Order in any way, and in fact, have scrupulously complied

 with its terms. Rather, Defendants are attempting to recast events in a manner that allows them

 to escape the clear consequences of noncompliance with a Confidentiality Order that they

 drafted. The Confidentiality Order provided a restrictive definition of the information that could

 properly be deemed “confidential.” That definition is roughly analogous to a trade

 secret—exactly the limited type of information that courts typically allow parties to protect from

 public dissemination. See Brown & Williamson Tobacco Corp. v. Federal Trade Commission,

 710 F.2d 1165, 1179 (6th Cir. 1983) (explaining that privacy rights and trade secrets are two

 content-based exceptions to the general rule of public disclosure); United States v. Contents of

 Nationwide Life Ins. Co. Account No. X0961, No. C-1-05-196, 2006 U.S. Dist. LEXIS 18772,

 *16 (S.D. Ohio April 12, 2006) (noting that “where company records are at issue, sensitive

 information should ordinarily rise to the level of privileged ‘trade secrets’ before it may be
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 sealed”). Importantly, the Confidentiality Order required the party designating information as

 confidential to do so in good faith.

        Defendants purported to fulfill this obligation by labeling every page of every document

 as confidential. They did so without regard to the documents’ contents and without reviewing

 the documents for confidential materials. Plaintiffs responded by making a formal request to

 remove the Confidential designation as required by the Confidentiality Order.6 Defendants

 waited eight days to respond, and in that response admitted their obligation to file “our motion

 with the court . . . pursuant to the Confidentiality Stipulation and Order.” Plaintiffs agreed to

 allow Defendants 11 days beyond the initial deadline to negotiate and ultimately, if an agreement

 could not be reached, file the required motion. Defendants did neither. Instead, Defendants

 waited until the day their motion was due to proclaim in an e-mail that Plaintiffs failed to

 properly challenge the Confidential designations because they failed to specify “the document,

 information, or other items as to which such removal is sought and the reasons for the request.”

 This Motion was not filed until over three months later.

        Plaintiffs contend, and the Court agrees, that because Defendants failed to file a motion

 within the time required by the plain language of the Confidentiality Order, “the discovery



  6
          Although the ultimate propriety of Plaintiffs’ request is not
          dispositive of the outcome, the Court finds that Plaintiffs’ concerns
          were entirely valid. First, Plaintiffs challenged whether marking
          every single page as confidential satisfied the good faith obligation
          of the Confidentiality Order. Plaintiffs’ suspicions that Defendants
          failed to review the documents ultimately proved true. Second,
          Plaintiffs indicated that they reviewed the documents before
          concluding that none of them qualified as confidential. An
          affidavit of counsel further attests that two lawyers spent a number
          of days reviewing the documents. Plaintiffs at least took the time
          to review the documents before staking out their position.
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 materials covered by [Plaintiffs’] request shall be deemed not confidential.” Defendants

 argument that the February 21 e-mail somehow put the onus on Plaintiffs to take action misses

 the mark for a number of reasons. For example, Defendants’ contention in the e-mail was that

 the Plaintiffs’ request was not proper. However, that issue is not for Defendants to unilaterally

 decide, but for the Court to decide after a motion is properly filed pursuant to the Confidentiality

 Order.7 Moreover, it strains credulity for Defendants to argue that Plaintiffs should have been

 more specific in their request. Plaintiffs at least took the time to review the documents prior to

 concluding that they were not confidential. They provided their reasons, and indeed, in light of

 Defendants’ designations it would seem odd that Plaintiffs would be required to explain why

 each of 400,000 documents was not a “trade and business secrets or other confidential financial,



   7
          An argument could be made that there is a difference between a
          “request” that is procedurally deficient and a “request” where the
          parties have substantive disagreement. This finds some support in
          the language of the Confidentiality Order, in that the subparagraph
          outlining the procedural requirements of the request is separate
          from the subparagraph requiring a motion to the Court where the
          parties cannot reach agreement on whether certain materials are
          confidential. In other words, the threshold for Court intervention
          (a dispute over confidentiality) is arguably never reached if the
          request is not properly served. This argument might have some
          merit in different circumstances. For example, the Court might
          reach a different conclusion if Defendants had actually made an
          attempt to fulfill their obligation to make a good faith
          determination of confidentiality by designating only certain
          documents and Plaintiffs had responded that each and every
          document was not confidential without any explanation. However,
          in this case Plaintiffs properly objected that Defendants’
          designations were not made in good faith, a conclusion that is
          facially apparent and does not require a detailed review of specific
          documents. Moreover, because Defendants drafted the
          Confidentiality Order and addressed their designations in only in
          general terms, they can hardly be heard to complain if Plaintiffs
          responded in a similar manner.
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 personal, commercial or proprietary information, which, if disclosed publicly, would put the

 designating party at a competitive disadvantage.” Considering Defendants’ initial and continued

 refusal to conduct a good faith review of whether the documents were confidential, the Court

 concludes that Plaintiffs’ response was perfectly appropriate.

        Defendants other arguments are similarly without merit. Defendants contend that they

 would not have made any of the documents available without the Confidentiality Order,8 and

 further that reviewing documents prior to production was “an enormously expensive and time-

 consuming burden that Defendants did not agree to undertake.” As for the former argument, the

 Court notes that Defendants are not the ultimate arbiter of what must be produced under the

 Federal Rules. As for the latter, Defendants in fact agreed to make a good faith effort to mark

 documents as confidential under the terms of the Confidentiality Order that Defendants drafted.9

 Most importantly, these are both arguments that should have been made, if at all, in a motion as


   8
          Although not entirely clear, Defendants appear to argue in their
          Reply that the Confidentiality Order at issue here was a “blanket
          order” that allowed for the designation of all exchanged documents
          as confidential. The Order speaks for itself, and quite certainly did
          not entitle Defendants to simply label all documents as
          confidential.
   9
          Defendants make numerous other representations in their briefs
          that are similarly devoid of support in the record. For example,
          Defendants contend that the Confidentiality Order allowed them to
          designate documents as confidential “in their discretion . . . .” To
          the contrary, the Confidentiality Order does not provide the
          designating party with discretion. Defendants also state that the e-
          mail of February 21 “was ignored,” when in fact Plaintiffs
          responded the next day. The final letter in the parties’ exchange
          was Plaintiffs’ statement that they were “confident that we
          followed the express protocol set forth in the Court’s December 5,
          2005 confidentiality Stipulation and Order” and that “the discovery
          materials covered by Plaintiffs’ February 2 correspondence are
          now ‘deemed not Confidential.’”
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 required by the Confidentiality Order.

        Defendants also argue that Plaintiffs’ request was not served on all counsel and was

 therefore ineffective. However, it was served on counsel charged with producing the documents

 at issue. At the time that counsel announced her conclusion that Defendants would not be filing

 a motion, the failure to serve on other opposing counsel was not even mentioned. Nor is there

 any evidence that other counsel was not fully aware of the circumstances. Rather, this argument

 appears to be a last-minute attempt to avoid a clear failure to adhere to obligations under the

 Confidentiality Order. In any event, this would again be a matter that should have been brought

 to the Court’s attention through a motion filed under the proper procedures. The time for doing

 so has passed.

        Defendants’ argument that Plaintiffs have somehow waived their right to seek the

 “wholesale declassification” of documents is not only meritless but in fact supports the

 conclusion that Defendants have waived their right to challenge the automatic removal of the

 confidential designation under the Confidentiality Order. Each of the cited cases involves a

 party who originally agreed to a set of ground rules and later asked the courts to change those

 rules. West Virginia v. Moore, 902 F. Supp. 715, 718 (S.D. W.Va. 1995); Omega Homes, 656 F.

 Supp. at 404; Zenith Radio Corp. v. Matsushita Elec. Corp., 529 F. Supp. 866, 887 (E.D. Pa.

 1981). Here, it is Defendants who agreed to certain rules—requiring good faith review of

 documents and prompt referral of disputes to the Court—and now seeks to change those rules.

 The Court finds a quotation from the Zenith Court most appropriate in these circumstances:

 Defendants “cannot now attempt to undo what they have willingly wrought; having made their

 bed, they must now sleep in it.”

        The Court also finds it unnecessary to undertake a document-by-document review to
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 determine whether the documents are confidential, as Defendants contend. Pursuant to the

 express terms of the Confidentiality Order Defendants penned and agreed upon, all of the

 documents at issue will be “deemed not confidential.”

        Finally, the Court also agrees with Plaintiffs that the disputed deposition testimony is not

 confidential. Defendants’ only argument is that the underlying documents are confidential.

 Because the Court finds that the underlying documents are not confidential, Defendants’ sole

 argument with respect to the testimony also fails. However, Plaintiffs should keep in mind that

 private information as outlined above and in Local Rule 8.1 must remain confidential.

        CONCLUSION

        For the foregoing reasons, the Court DENIES Defendants’ motions.



               IT IS SO ORDERED.



                                       /s/ Patricia A. Gaughan
                                      PATRICIA A. GAUGHAN
                                      United States District Judge

  Dated: 11/17/06




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